

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-66,334-01






EX PARTE EZRA C. PLEASANT, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


		CAUSE NO. CR-02-333 (COUNTS I-III) IN THE 22ND JUDICIAL DISTRICT 


				COURT FROM HAYS COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated sexual
assault of a child and indecency with a child and sentenced to ten years' imprisonment, probated for
ten years and a ten thousand dollar fine on each count.  The Third Court of Appeals affirmed his
convictions.  Pleasant v. State, No. 03-03-00514-CR (Tex. App.-Austin, delivered February 3,
2005). 

	Applicant contends that his appellate counsel rendered ineffective assistance because he
failed to notify Applicant that he filed a motion to withdraw and a brief that purported to comply
with Anders v. California, 386 U.S. 738 (1967).   Applicant also alleges that counsel failed to notify
him that he had a right to file a pro se appellate brief.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide Applicant's appellate counsel with the opportunity to respond to Applicant's claim of
ineffective assistance of counsel.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's
appellate attorney was deficient and, if so, whether counsel's deficient performance prejudiced
Applicant.  The trial court shall also make any other findings of fact and conclusions of law that it
deems relevant and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 


Filed: December 13, 2006

Do not publish


